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   BRUNO MACEDO CORREIA
 6
                              UNITED STATES DISTRICT COURT
 7
                                   DISTRICT OF NEVADA
 8
   UNITED STATES OF AMERICA,                 CASE NO.: 2:17-cr-00001-JAD-CWH-06
 9 Plaintiff,
                                             STIPULATION AND ORDER TO
10 vs.                                       CONTINUE HEARING
11 BRUNO MACEDO CORREIA,
                 Defendant.
12
          IT IS HEREBY STIPULATED BY AND BETWEEN Defendant, Bruno Macedo Correia,
13
   through his counsel, Maysoun Fletcher Esq. with The Fletcher Firm, P.C., and Plaintiff, United
14
   States of America, through its counsel, Patrick Burns, Assistant United States Attorney, to
15

16 continue the hearing on Mr. Correia’s Motion to Reopen Detention or, in the Alternative, for

17 Immediate Pre-trial Release currently set for June 1, 2018 at 10:00 a.m. to June 6, 2018 after

18 11:00 a.m., June 7, 2018, or the next available date. The reason for the requested continuance

19
     is that Mrs. Fletcher is scheduled to be out of state on the currently scheduled hearing date.
20
            Dated this 22nd day of May, 2018.
21
   /s/ Maysoun Fletcher                                            /s/ Patrick Burns
22 Maysoun Fletcher, Esq.                                          Patrick Burns,
   Attorney for Bruno Correia                                      Assistant United States Attorney
23

24          IT IS SO ORDERED THAT the hearing on Mr. Correia’s Motion to Reopen Detention or,

25 in the Alternative, for Immediate Pre-trial Release currently set for June 1, 2018 at 10:00 a.m.
                              June 7
26 is vacated and reset to _________________________________________,          11:00 AM, in Courtroom 3D.
                                                                      2018 at ____________.
27                      May 29, 2018
            Dated this ______________________, 2018.
28                                                         _____________________________
                                                           MAGISTRATE JUDGE

                                                       1
